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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF NEBRASKA

  SANTEE SIOUX NATION,

                        Plaintiff,                           8:23-CV-00530-BCB-MDN

         vs.
                                                       NOTICE OF DISMISSAL WITHOUT
  ROSELYN TSO, in her official capacity as             PREJUDICE OF DEFENDANTS U.S.
  Director of the Indian Health Service;                   DEPARTMENT OF THE
                                                         TREASURY, BUREAU OF THE
  UNITED STATES INDIAN HEALTH                          FISCAL SERVICE AND TIMOTHY
  SERVICE;                                                GRIBBEN UNDER F.R.C.P.
                                                                41(a)(1)(A)(i)
  XAVIER BECERRA, in his official capacity as
  Secretary of Health and Human Services;

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES,

  UNITED STATES DEPARTMENT OF THE
  TREASURY, BUREAU OF THE FISCAL
  SERVICE, TIMOTHY GRIBBEN, in his
  official capacity as Commissioner Bureau of
  Fiscal Service; and

  THE UNITED STATES OF AMERICA,

                        Defendants.




       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Santee Sioux Nation

by and through its counsel Conly J. Schulte and Ben Fenner hereby give notice that Defendants

United States Department of the Treasury, Bureau of the Fiscal Service and Timothy Gribben,

Commissioner of the Bureau of Fiscal Service are voluntarily dismissed without prejudice.




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Dated: December 6th, 2023




                             SANTEE SIOUX NATION,
                             Plaintiffs

                             By:    /s/ Conly Schulte
                             Conly J. Schulte (NE Bar No. 20158)
                             Aidan Graybill (pro hac vice pending)
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this the 6th day of December 2023, they served a

true and correct copy of the foregoing Notice of Dismissal without prejudice of Defendants U.S.

Department of the Treasury, Bureau of the Fiscal Service and Timothy Gribben upon the party

below, by delivering the same via email and USPS certified mail to:


Lynnett M. Wagner
Assistant U.S. Attorney
1620 Dodge Street, Suite 1400
Omaha, NE 68102-1506
E-mail: LWagner@usa.doj.gov

                                                   s/ Serena Steiner             .
                                                   Serena Steiner, Legal Assistant
                                                   Peebles Kidder Bergin & Robinson LLP




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